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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                     MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]

                    SWORN DECLARATION OF EMILE P. DIGIOVANNI

         Pursuant to 28 U. S. C. § 1746 Emile P. DiGiovanni declares the following:

         1.      “My name is Emile P. DiGiovanni. The facts contained in this declaration are

within my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from July, 2010

to December 1, 2010. O’Brien’s initially assigned me to work in Mobile, Alabama and later in

Pascagoula, Mississippi and Pensacola, Florida.          My duties were to assist O’Brien’s in

monitoring personnel, equipment and supplies used in the cleanup response to BP’s Deepwater

Horizon oil spill in April 2010.

         3.      Supplies and equipment needed to clean the spill were kept at staging yards. It

was one of my responsibilities to track where they were deployed, when they were returned to

the decontamination facility, and track when they were returned to staging for redeployment or

demobilization.

         4.      In the decontamination yard, equipment returning from deployment was cleaned,

inventoried and returned to the staging yard or demobilized and returned to the owner. I also

kept track of what equipment was to be redeployed after decontamination or returned to the

owner. I tracked vessels, containers, contaminated and clean boom, cleanup equipment and

supplies.




                                                                                             Ex. 7
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       12.     When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I

would be paid “$500 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     Throughout my employment with O’Brien’s, I was paid $500 per day. This

amount did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                            Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because an O’Brien’s employee, hired me over the phone. Just before reporting to work in

Mobile, another O’Brien’s employee sent me O’Brien’s hiring documents and employment

policies in the form of their Teaming Agreement.

       16.     When I was hired my supervisor was Darren Benson who was also employed by

O’Brien’s. I was trained by an O’Brien’s employee named Phil Solamon.

       17.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, I had mandatory meetings with Benson and

Solamon. In these meetings, Benson and Solamon gave me and other Spill Workers instructions

regarding our daily tasks and job performance. When there were problems, I went to Benson for

direction.
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        18.     Benson required me to deliver daily reports detailing equipment, supplies and

personnel being used and progress being made picking up oil, tar and sand. O’Brien’s used these

reports to monitor our work and plan our assignments for the next day.

        19.     O’Brien’s directed the information I was to track and how I was to report it.

O’Brien’s also provided instruction on how to fill out the report forms I completed. When my

forms were not filled out properly, or there was some other problem with my work, Benson

required me to make corrections according to his instructions.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

I initially worked months with no time off. Later when I requested time off, the requests would

have been approved by Benson.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.
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        24.    O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.    The Spill Workers and I were not allowed to hire employees to help us with our

work.

        26.    O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

        27.    I was let go or “demobilized” on December 1, 2010 and up until that time, I was

always treated as an independent contractor.

        28.    Just before I was let go, or “demobilized,” I was to report to demobilization.

After being demobilized, I returned home because I no longer had work or lodging in Pensacola

where I last worked for O’Brien’s.

                                            Investment

        29.    The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s provided us with the equipment we used, including printers,

scanners, hard hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed

us for our personal cell phones, travel expenses and mileage. O’Brien’s also provided facilities,

including offices and lodging.

                                     Special Skill or Expertise

        30.    O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training with the exception of
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                                                               Exhibit 1
